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                             OR
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                     IN THE LINITEDSTATESDISTRICTCOURT
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                   FORTHE SOUTHERNDISTRICTOF GEORGIA
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                                    DUBLIN DIVISION

JAMESAUSTIN,

               Petitioner,

                                                        cv 314-025
                                                        (Formerly
                                                               CR312-003)
LNITED STATESOF AMERICA,

               Respondent.


                                          ORDER


       After a careful, de novo review of the file. the Court concurswith the Magistrate

Judge's Report and Recommendation, to r.vhich no objections have been filed

Accordingly, the Courl ADOPTS the Report and Recommendationof the Magistrate

Judge as its opinion, GRANTS Respondent'smotion to dismiss(doc. no. 3), and

DISMISSES this case without an evidentiaryhearing on Petitioner'smotion filed

pusuantto 28 U.S.C.$ 2255.

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                                l'r
                                    r'    must obtain                              (.'COA)
                                                        a cenificateof appealability

before appealing the denial of his motion to vacate. This Coutl "must issue or deny a

cerlificate of appealability when it enters a final order adverseto the applicant." Rule

11(a)to the Rules Goveming Section2255 Proceedings.This Court should grant a COA

only if the prisoner makes a "substantialshowing of the denial of a constitutionalright."

28 U.S.C. $ 2253(cX2). For the reasonsset forth in the Report and Recommendation,

and in considerationof the standardsenunciatedin Slack v. MsDaniel, 529 U.S 473,
Case 3:12-cr-00003-DHB-BKE Document 804 Filed 09/15/14 Page 2 of 2




482-84 (2000), Petitioner has failed to make the requisite showing. Accordingly, the

Court DENIES a COA in this case.l Moreover, becausethere are no non-frivolous issues

to raise on appeal,an appealwould not be taken in good faith. Accordingly, Petitioner is

not entitledto appealin.fbrmapauperis. See28 U.S.C $ 1915(a)(3)

       Upon the foregoing, the Court CLOSES this civil action and DIRECTS the

Clerk to enter linal judgment in favor ofRespondent.
                            716--
       SO ORDEREDLhis/.-day of Se                       at Augusta,




                                    IINITED ST          DIS    CT




        "'If the courtdeniesa certificate,a partymay not appealthedenialbut may seeka
certificatefrom the coutl of appealsunder FederalRule of AppellateProcedure22."
Rule i l(a) to theRulesGoverningSection2255Proceedings.
